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 4   Attorney for Defendant DANIEL ROSALES
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 9                              IN THE UNITED STATES DISTRICT COURT
10                         FOR THE EASTERN DISTRICT OF CALIFORNIA
11
                                                      )   Case No.: S-07-165-LKK
12   UNITED STATES OF AMERICA,                        )
                                                      )   STIPULATION AND ORDER TO
13                 Plaintiff,                         )   CONTINUE STATUS CONFERENCE
                                                      )
14        vs.                                         )   Date: June 23, 2009
     DANIEL ROSALES, et al,                           )   Time: 9:15 a.m.
15                                                    )   Judge: Lawrence K. Karlton
                   Defendant                          )
16                                                    )
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18          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the Status
19   Conference hearing scheduled for June 23, 2009 at 9:15 a.m. be continued to August 11, 2009 at
20   9:15a.m.in the same courtroom. Samuel Wong, Assistant United States Attorney, and Philip
21   Cozens, Defendant’s attorney, are requesting such continuance in order to continue negotiations
22   for acceptable changes in the plea agreement.
23          It is further stipulated that Defendant need not appear in Court on June 23, 2009, but must
24   appear on August 11, 2009.
25          It is further stipulated that the period from the date of this stipulation through and
26   including August 11, 2009, be excluded in computing the time within which trial must
27   commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local
28   Code T4 for continuity and preparation of counsel.




                                     STIPULATION AND ORDER            -1-
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 1         IT IS SO STIPULATED.
 2   DATED: June 19, 2009                      By:          /s/ Philip Cozens_______
                                                            PHILIP COZENS
 3                                                          Attorney for Defendant
                                                            BRENDA ALEXANDER
 4

 5
     DATED: June 19, 2009                                   LAWRENCE G.BROWN
 6                                                          United States Attorney
 7                                              By:          /s/ Samuel Wong
                                                            SAMUEL WONG
 8                                                          Assistant U.S. Attorney
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13                                IT IS SO ORDERED.
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     Dated: June 22, 2009
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                             STIPULATION AND ORDER    -2-
